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 8
                               UNITED STATES DISTRICT COURT
 9
                          CENTRAL DISTRICT OF CALIFORNIA
10

11
                                            CASE NO.: CV13-02620 PSG-CFE
12                                          Hon. Philip S. Gutierrez – Ctrm. 6A (First
     ANTHONY BROWN, SR.,                    Street Courthouse)
13
                                            Hon. Mag. Charles F. Eick – Ctrm. 23, 3rd
                  Plaintiff,
14                                          Flr.
15         vs.
                                            PLAINTIFF’S REQUEST FOR WRIT
16   VERONICA CONRADO, et al.,              OF HABEAS CORPUS AD
                                            TESTIFICANDUM FOR THE
17                Defendants.               PRODUCTION OF PRISONER
18                                          ANTHONY BROWN, SR.;
                                            DECLARATION OF ANGELA M.
19
                                            MACHALA
20
                                            Action Filed: April 15, 2013
21
                                            Final Pretrial Conf.: Sept. 30, 2022
22                                          Trial Date: Oct. 6, 2022
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                 PLAINTIFF’S REQUEST FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM
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 1          Pursuant to 28 U.S.C. §§ 1651(a) and 2241(c)(5), Plaintiff Anthony Brown, Sr.
 2   hereby moves for an Order granting his request for a writ of habeas corpus ad
 3   testificandum directing his custodian to produce him, an incarcerated party, to attend
 4   and testify at his trial.
 5          The basis for this writ is that Mr. Brown is currently incarcerated at Mule Creek
 6   State Prison in Ione, California. The request for his appearance relates to the upcoming
 7   October 6, 2022 trial on Mr. Brown’s claim under 42 U.S.C. § 1983 that Defendants
 8   Veronica Conrado and Juan Guerra violated his constitutional rights while he was in
 9   detention in 2011.
10          Mr. Brown’s presence at trial to assist in the presentation of his case and to testify
11   is vital to his case. Mr. Brown alleges that Defendants, acting under color of law,
12   intentionally conducted an unlawful search and used excessive force against him when
13   they, without a court order, forcibly took a DNA sample from him. Mr. Brown must
14   testify and is the key witness to counter the testimony of Defendants Conrado and
15   Guerra about the events that gave rise to this action. In contrast to Defendants’ expected
16   testimony, Mr. Brown will testify about several topics, including that: (1) Defendants
17   were part of a course of conduct to deprive him of his constitutional rights; (2)
18   Defendants circumvented proper procedures to obtain a court order for a DNA sample;
19   and (3) Defendants employed unreasonable and excessive force in obtaining a DNA
20   sample from him on April 19, 2011.
21          Accordingly, Mr. Brown respectfully requests that the Sheriff of the County of
22   Los Angeles be ordered to transport him from Mule Creek State Prison in Ione,
23   California, to the trial on October 6, 2022, at 9:00 a.m.
24          Defense counsel does not object to this request. Decl. of Angela Machala ¶ 3.
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     Dated: September 13, 2022               /s/ Angela M. Machala
                                       Angela M. Machala
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                  PLAINTIFF’S REQUEST FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM
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 1                       DECLARATION OF ANGELA M. MACHALA
 2          I, Angela M. Machala, declare and state as follows:
 3          1.     I am an attorney duly admitted to practice before this Court. I am a
 4   partner of Winston & Strawn LLP, attorneys of record for Plaintiff Anthony Brown,
 5   Sr. I have personal knowledge of the facts set forth herein, except as to those stated
 6   on information and belief. If called as a witness, I could and would competently
 7   testify to the matters stated herein.
 8          2.     Mr. Brown is currently incarcerated at Mule Creek State Prison
 9   (“MCSP”).
10          3.     On August 15, 2022, defense counsel Emily Cohen stated that she would
11   not oppose this Request for a Writ of Habeas Corpus Ad Testificandum.
12          4.     On September 6, 2022, I spoke with Donna Rock, Office Technician with
13   Litigation at MCSP. She asked that I contact MSCP’s “Out to Court” coordination
14   desk. Later that day, I emailed the MSCP “Out to Court” coordination desk to
15   confirm Anthony Brown, Sr.’s availability for trial.
16          5.     On September 13, 2022, Nicole Corrigan, Supervising Case Record
17   Technician at MCSP, informed me that Mr. Brown is free and able to be present
18   during the trial.
19          I declare under penalty of perjury under the laws of the United States of
20   America that the foregoing is true and correct.
21          Executed this 13th day of September 2022, at Los Angeles, California.
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23                                           /s/ Angela M. Machala
                                       Angela M. Machala
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                 PLAINTIFF’S REQUEST FOR WRIT OF HABEAS CORPUS AD TESTIFICANDUM
